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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHRYN TOWNSEND GRIFFIN, THE
ESTATE OF HELEN McDONALD, and
THE ESTATE OF CHERRIGALE
TOWNSEND,

Plaintiffs, : Docket No. 17-cv-5221 (LLS)

-against- : Declaration of Attorney in Support
of Motion to Appear Pro Hac Vice
EDWARD CHRISTOPER SHEERAN, p/k/a
ED SHEERAN, ATLANTIC RECORDING
CORPORATION, d/b/a ATLANTIC RECORDS,
SONY/ATV MUSIC PUBLISHING, LLC and

Defendants.

ATTORNEY AFFIDAVIT/DECLARATION IN SUPPORT
OF MOTION TO APPEAR PRO HAC VICE

STATE OF FLORIDA
COUNTY OF LEON

PURSUANT TO RULE 1.3 of the Local Rules of the United States Courts for the

Southern and Eastern Districts of New York, I, Benjamin Crump, Esq., hereby

states/declares/affirms as follows:

a.) I, the undersigned counsel(s)/applicant, have never been convicted of a felony;

b.) I, the undersigned counsel(s)/applicant, have never been censured, suspended,
disbarred, or denied admission or readmission by any Court;

c.) I, the undersigned counsel(s)/applicant, affirm that I do not have any pending

disciplinary proceedings against me, &
d.) Not applicable.

Under penalty of perjury, the undersigned counsel(s)/applicant/A ffiant verifies that all of

the information contained herein is true and correct to the best of his information and/or belief.
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Dated: OCtoBer [TR , 2020.

 

BEN CRUMP LAW, P
Attorneys for Plainti

 
 
   

By: i

Benjamin Crump Sq.
Florida Bar Nurpfber: 72583

SWORN and SUBSCRIBED before me by Mr. Benjamin Crump, who (X) is

STATE OF FLORIDA
COUNTY OF LEON

personally known to me; or( _) who provided Florida ID#:

 

as identification.

Md Péllud |

Notary Public
(SEAL) My Commission Expires:

Notary P
x o% tery Public State of Florida

Michael P Gagiiardi

i Cc
VE Croemtenn GG 392615

 
